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                       IN THE UNITED STATES DISTRICT COURT
                      FOR TH E SO UTHERN DISTRICT O F FLO RIDA

                         CaseN o.9:1N CV-80043-M IDDLEBROOK S

  PAUL HACKER,

                Plaintiff,


  M EDIA COLLECTIONS,IN C.,

                Defendant.


                                   O RD ER CL O SIN G CA SE

         THISCAUSE comesbeforetheCourton aJointStipulationofDismissalwith Prejudice,
  filed on M ay 18,2017. (DE           The Court congratulates the Parties on their amicable

  resolution ofthism atterand notesthatpursuantto Anago Franchising,Inc.v.Shaz,LLC,677

  F.3d 1272 (11thCir.2012),theParties'Stipulationisself-executingand noorderoftheCourtis
  required to dismissthisaction.

         O RD ER ED and A D JU DG ED thatthe Clerk ofCourtshallCL O SE thisC A SE . A 1l

  pending motionsarehereby DENIED AS M OO T.

        DONE AND ORDERED in Chambers,atW estPalm Beach,Florida,this22nd day of

  M ay,2017.




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                                           UN ITED STA TES D ISTRICT JUD GE
  Copiesto:     CounselofRecord
